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                APPENDIX B
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                                                                                                                                        2081.1.


Rules and Regulations                                                                                 Federal Register
                                                                                                      Vol. 85, No.   73

                                                                                                      Wednesday, April 15, 2o2o


This section of the FEDERAL REGISTER            ADDRESSES:     You may submit comments,               and authority through the Act to modify
contains regulatory documents having general    identified by number SBA-2020-001 5                   existing loan programs and establish a
applicability and legal effect, most of which   through the Federal eRulemaking Portal:               new loan program to assist small
are keyed to and codified in the Code of        http / /vt vvw.regulations.gov. Follow the
                                                     :                                                businesses nationwide adversely
Federal Regulations, which is published under   instructions for submitting comments.                 imoacted bv the COVID-I9 emersencv.
50 titles pursuant to 44 U.S.C. 1510.             SBA    will post all comments on                       Section rioz of the Act tempor"arily
The Code ol Federal Regulations is sold by                     s. gov. If you wish to
                                                wtvw. re gulation                                     permits SBA to guarantee 100 percent of
the Superintendent of Documents.                submit confidential business                          z(a) Ioans under a new program titled
                                                information [CBI) as defined in the User              the "Paycheck Protection Program."
                                                Notice al www.rc gulofions.gov, please                Section 1106 ofthe Act provides for
SMALL BUSINESS ADMINISTRATION                   send an email to ppp-ifr@sba.gov.                     forgiveness of up to the full principal
                                                Highlight the information that you                    amount of qualifying loans guaranteed
13 CFR Part'l2O                                 consider to be CBI and explain why you                under the Paycheck Protection Program.
[Docket No. SBA-2020-{01 5]                     believe SBA should hold this                          A more detailed discussion of sections
                                                information as confidential. SBA will                 1102 and 1106 0fthe Act is found in
RIN   324FAH34                                  review the information and make the                   section III below.
Business Loan Program Temporary                 final determination whether it will                   II. Comments and Immediate Effective
Changes; Paycheck Protection                    publish the information.                              Date
Program                                         FoR FURTHER TNFoRMATToN coNTAcr: Call
                                                                                                         The intent of the Act is that SBA
                                                Center Representative at 833-5 72-0502,
AGENcY: U.S. Small Business                     or the local SBA Field Office; the list of
                                                                                                      provide relief to America's small
Administration.                                                                                       businesses expeditiously. This intent,
                                                offices can be found at https://
AcrtoN: Interim final rule.                     tvww. sb a. gov /to ol s / loc al - as si stanc e /
                                                                                                      along with the dramatic decrease in
                                                districtoffices.                                      economic activity nationwide, provides
SUMMAHY:  This interim final rule                                                                     good cause for SBA to dispense with the
                                                SUPPLEMENTARY lNFOBMATION            :
announces the implementation of                                                                       30-day delayed effective date provided
sections 1102 and 1106 ofthe                    I. Background Information                             in the Administrative Procedure Act.
Coronavirus Aid, Relief, and Economic             On March 1,3,2o2o, President Trump                  Specifically, small businesses need to be
Security Act (CARES Act or the Act).            declared the ongoing Coronavirus                      informed on how to apply for a loan and
Section 1102 of the Act temporarily             Disease 2019 (COVID-19) pandemic of                   the terms of the loan under section 1102
adds a new product, titled the                  sufficient severity and magnitude to                  ofthe Act as soon as possible because
"Paycheck Protection Program," to the           warrant an emergency declaration for all              the last day to apply for and receive a
U.S. Small Business Administration's            states, temitories, and the District of               Ioan is |une 30, 2O2O.The immediate
(SBA's) 7(a) Loan Program. Section 1106         Columbia. With the COVID-19                           effective date ofthis interim final rule
of the Act provides for forgiveness of up       emergency, many small businesses                      will benefit small businesses so that
to the full principal amount of                 nationwide are experiencing economic                  they can immediately apply for the loan
qualifying loans guaranteed under the           hardship as a direct result of the                    with a full understanding of loan terms
Paycheck Protection Program. The                Federal, State, and local public health               and conditions. This interim final rule
Paycheck Protection Program and loan            measures that are being taken to                      is effective without advance notice and
forgiveness are intended to provide             minimize the public's exposure to the                 public comment because section 1114 of
economic relief to small businesses             virus. These measures, some of which                  the Act authorizes SBA to issue
nationwide adversely impacted under             are government-mandated, are being                    regulations to implement Title 1 of the
the Coronavirus Disease 2019 (COVID-            implemented nationwide and include                    Act without regard to notice
19) Emergency Declaration (COVID-I9             the closures ofrestaurants, bars, and                 requirements. This rule is being issued
Emergency Declaration) issued by                gyms. In addition, based on the advice                to allow for immediate implementation
President Trump on March 13,2o2o.               of public health officials, other                     of this program. Although this interim
This interim final rule outlines the key        measures, such as keeping a safe                      final rule is effective immediately,
provisions of SBA's implementation of           distance from others or even stay-at-                 comments are solicited from interested
sections 1102 and 1106 ofthe Act in             home orders, are being implemented,                   members of the public on all aspects of
formal guidance and requests public             resulting in a dramatic decrease in                   the interim final rule, including section
comment.                                        economic activity as the public avoids                III below. These comments must be
 DATES:                                         malls, retail stores, and other                       submitted on or before May 1.5,2O2O.
    Effective dafe: This interim final rule     businesses.                                           The SBA will consider these comments
 is effective April 15, 2020.                      On March 27,2020, the President                    and the need for making any revisions
   Applicability dater This interim final       signed the Coronavirus Aid, Relief, and               as a result of these comments.
 rule applies to applications submitted         Economic Security Act (the CARES Act                  III. Temporary New Business Loan
 under the Paycheck Protection Program          or the Act) (Pub. L. 116-136) to provide              Program: Paycheck Protection Program
 through fune 30, 2020, or until funds          emergency assistance and health care
 made available for this purpose are            response for individuals, families, and               Overview
 exhausted.                                     businesses affected by the coronavirus                  The CARES Act was enacted to
    Comment Dofe: Comments must be              pandemic. The Small Business                          provide immediate assistance to
 received on or before May 15, 2020.            Administration (SBA) received funding                 individuals, families, and businesses
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affected by the COVID-19 emergency.            501(c)(3) ofthe Internal Revenue Code          c. How do I determine if I am ineligible?
Among the provisions contained in the          (IRC), a tax-exempt veterans
                                                                                                   Businesses that are not eligible for
CARES Act are provisions authorizing           organization described in section              PPP loans are    identified in 13 CFR
SBA to temporarily guarantee loans             501(c)(19) of the IRC, Tribal business         1.2O.110 and described further in SBA's
under  a new 7(a) loan program titled the      concern described in section 31(bX2)(C)        Standard Operating Procedure (SOP) 50
"Paycheck Protection Program." Loans           of the Small Business Act, or any other        10, Subpart B, Chapter 2, except that
guaranteed under the Paycheck                  business; and                                  nonprofit organizations authorized
Protection Program (PPP) will be 100              ii. You were in operation on February       under the Act are eligible. (SOP 50 10
percent guaranteed by SBA, and the full        1.5,2020 and either had employees for          can be found at https://wvvw.sba.gov/
principal amount of the loans may              whom you paid salaries and payroll             do   cume nt / s o p - 5 0 - 7 0 - 5 Je n d er-
qualify for loan forgiveness. The              taxes or paid independent contractors,         d eve I o p m e nt - c o m p a  ny- I o an - p ro gram s.)
following outlines the key provisions of       as reported on a Form 1099-MISC.
the PPP.                                          You are also eligible for a PPP loan if     d. I have determined that I am eligible.
1, General                                     you are an individual who operates             How much can I borrow?
                                               under a sole proprietorship or as an             Under the PPP, the maximum loan
   SBA is authorized to guarantee loans        independent contractor or eligible self-
under the PPP through lune 30, 2020.                                                          amount is the lesser of $t0 million or
                                               employed individual, and you were in           an amount that you will calculate using
Congress authorized a program level of
                                               operation on February 1,5,2020.                a payroll-based formula specified in the
$349,000,000,000 to provide guaranteed           You must also submit such
loans under this new 7(a) program. The                                                        Act, as explained below.
                                               documentation as is necessary to
intent of the Act is that SBA provide                                                         e.How do I calculate the maximum
                                               establish eligibility such as payroll
relief to America's small businesses                                                          amount I can borrow?
                                               processor records, payroll tax filings, or
expeditiously, which is expressed in the
                                               Form 1099-MISC, or income and                    The following methodology, which is
Act by giving all lenders delegated
                                               expenses from a sole proprietorship. For       one of the methodologies contained in
authority and streamlining the
                                               borrowers that do not have any such            the Act, will be most useful for many
requirements of the regular 7(a) Ioan
program. For example, for loans made           documentation, the borrower must               applicants.
                                               provide other supporting                         i. Step 1: Aggregate payroll costs
under the PPP, SBA will not require the
lenders to comply with section 120.150
                                               documentation, such as bank records,           (defined in detail below in f.) from the
"What are SBA's lending criteria?." SBA        sufficient to demonstrate the qualifying       Iast twelve months for employees whose
will allow lenders to rely on                  pal,roll amount.                               principal place ofresidence is the
certifications of the borrower in order to       SBA intends to promptly issue                United States.
determine eligibility of the borrower          additional guidance with regard to the              ii. Step 2: Subtract any compensation
and use ofloan proceeds and to rely on         applicability of affiliation rules at 13       paid to an employee in excess of an
specified documents provided by the            CFR 121.103 and 121.30t to PPP loans.          annual salary of 9t00,000 and/or any
borrower to determine qualifying loan          b. Could I be ineligible even if I meet the    amounts paid to an independent
amount and eligibility for loan                eligibility requirements in (a) above?         contractor or sole proprietor in excess of
forgiveness. Lenders must comply with                                                         $100,000 per year.
the applicable lender obligations set             You are ineligible for a PPP loan if, for     iii. Step 3: Calculate average monthly
forth in this interim final rule, but   will   example:                                       payroll costs (divide the amount from
be held harmless for borrowers' failure           i. You are engaged in any activity that     Step 2 by 12).
to comply with program criteria;               is illegal under Federal, state, or local           iv. Step 4: Multiply the average
remedies for borrower violations or            Iaw;                                           monthly payroll costs from Step 3 by
fraud are separately addressed in this            ii. You are a household employer            2.5.
interim final rule. The program                (individuals who employ household                v, Step 5: Add the outstanding
requirements of the PPP identified in          employees such as nannies or                   amount of an Economic Iniury Disaster
this rule temporarily supersede any            housekeepers);                                 Loan (EIDL) made between |anuary 31,
confl icting Loan Program Requirement             iii. An owner of 20 percent or more         2020 and April 3, 2020, Iess the amount
(as defined in 13 CFR 120.10).                 of the equity of the applicant is              of any "advance" under an EIDL
                                               incarcerated, on probation, on parole;         COVID-I9 loan (because               it   does not
2.   What do borrowers need to know and        presently subject to an indictment,            have to be repaid),
do?                                            criminal information, arraignment, or             The examples below illustrate this
a.   Am I eligible?                            other means by which formal criminal           methodology.
                        a PPP }oan if you
     You are eligible for                      charges are brought in any jurisdiction;       i. Example 1-No employees make more
have 500 or fewer employees whose              or has been convicted of a felony within            than $100,000
principal place ofresidence is in the          the last five years; or                             Annual payroll: $1 20,000
United States, or are a business that             iv. You, or any business owned or                Average monthly payroll: $10,000
operates in a certain industry and meet        controlled by you or any of your                    Multiply by 2.5 = $25,000
the applicable SBA employee-based size         owners, has ever obtained a direct or               Maximum loan amount is $25,000
standards for that industry, and:              guaranteed loan from SBA or any other          ii. Example 2-Some employees make
  i. You are:                                  Federal agency that is currently                      more than $100,000
  A. A small business concern as               delinquent or has defaulted within the              Annual payroll: $1,500,000
defined in section 3 of the Small              last seven years and caused a loss to the           Subtract compensation amounts in
Business Act (15 U.S.C. 632), and              government.                                           excess of an annual salary of
subject to SBA's affiliation rules under          The Administrator, in consultation                 $100,000: $1,200,000
13 CFR 121.301(fl unless specifically          with the Secretary of the Treasury (the             Average monthly qualifying payroll:
waived in the Act; or                          Secretary), determined that household                 $100,000
  B. A tax-exempt nonprofit                    employers are ineligible because they               Multiply by 2.5       = g25o,ooo
organization described in section              are not businesses. 13 CFR 120.100.                 Maximim loan amount is $250,000
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iii. Example 3-No employees make            h. Do independent contractors count as           loan you should consider applying for
    more than $100,000, outstanding         employees for purposes ofPPP loan                the maximum amount. While the Act
    EIDL loan of g1o,ooo.                   calculations?                                    does not expressly provide that each
   Annual payroll: $120,000                    No, independent contractors have the          eligible borrower may only receive one
   Average monthly payroll: $10,000         ability to apply for
                                                               a PPP loan on their           PPP loan, the Administrator has
   Multiply by 2.s = $25,000                own so they do not count for purposes            determined, in consultation with the
   Add EIDL loan of $10,000 = $35,000       of a borrower's PPP loan calculation.            Secretary, that because all PPP loans
   Maximum loan amount is $35,000                                                            must be made on or before |une 30,
iv. Example 4-Some employees make           i. What is the interest rate on a PPP            2o2o, a one loan per borrower limitation
     more than $100,000, outstanding        loan?                                            is necessary to help ensure that as many
    EIDL loan of $10,000                      The interest rate    will   be 100 basis       eligible borrowers as possible may
  Annual payroll: $1,500,000                ooints or one Dercent.                           obtain a PPP loan. This limitation will
  Subtract compensation amounts in          ' The Administrator, in consultation             also help advance Congress' goal of
    excess of an annual salary of           with the Secretary, determined that          a   keeping workers paid and employed
    $100,000: $1,200,000                    one percent interest rate is appropriate.        across the United States.
  Average monthly qualifying payroll    :
                                            First, it provides low cost funds to
     $100,000                               borrowers to meet eligible payroll costs
                                                                                             l. Can I use e-signatures or e-consents   if
  Multiply by z.s = $250,000                                                                 a  borrower has multiple owners?
                                            and other eligible expenses during this
  Add EIDL loan of $to,ooo = $260,ooo       temporary period of economic                       Yes, e-signature or e-consents can be
  Maximum loan amount is $260,000           dislocation caused by the coronavirus.           used regardless of the number of
f. What qualifies as "payroll costs?"       Second, for lenders, the 100 basis points
                                            offers an attractive interest rate relative      m, Is the PPP "first-come, first-served?"
  Payroll costs consist of compensation     to the cost of funding for comparable
to employees (whose principal place of      maturities. For example, the FDIC's                  Yes.
residence is the United States) in the      weekly national average rate for a 24-
form of salary, wages, commissions, or                                                       n. When    will I have to begin paying
                                            month CD deposit product for the week            principal and interest on my PPP loan?
similar compensation; cash tips or the      of March 30,2o2o is 42 basis points for
equivalent (based on employer records                                                           You will not have to make any
                                            non-jumbo and 44 basis points for
of past tips or, in the absence of such     jumbo (lr f fps: / / www.f d ic.gov /            payments for six months following the
records, a reasonable, good-faith           rcgulations /re sources /ratesl). Third, the     date of disbursement ofthe loan.
employer estimate of such tips);            interest rate is higher than the yield on        However, interest will continue to
payment for vacation, parental, family,     Treasury securities of comparable                accrue on PPP loans during this six-
medical, or sick leave; allowance for       maturity. For example, the yield on the          month deferment. The Act authorizes
separation or dismissal; payment for the    Treasury two-year note is approximately          the Administrator to defer loan
provision of employee benefits              23 basis points. This higher yield               payments for up to one year, The
consisting ofgroup health care coverage,    combined with the fact that the loans            Administrator determined, in
including insurance premiums, and           are 100 percent guaranteed by the SBA            consultation with the Secretary, that a
retirement; payment of state and local      and the fact that lenders will receive a         six-month deferment period is
taxes assessed on compensation of           substantial processing fee from the SBA          appropriate in light of the modest
employees; and for an independent           provide ample inducement for lenders             interest rate (one percent) on PPP loans
contractor or sole proprietor, wages,       to participate in the PPP.                       and the loan forgiveness provisions
commissions, income, or net earnings                                                         contained in the Act.
from self-employment, or similar            j. What   will   be the maturity date on a
                                            PPP loan?                                        o. Can my PPP loan be forgiven in
compensation.                                                                                whole or in part?
                                               The maturity is two years. While the
          anything that is expressly
g. Is there                                                                                    Yes. The amount of loan forgiveness
                                            Act provides that a loan will have a
excluded from the definition of payroll                                                      can be up to the full principal amount
                                            maximum maturity of up to ten years
costs?                                                                                       of the ioan and any accrued interest,
                                            from the date the borrower applies for
  Yes. The Act expressly excludes the       Ioan forgiveness (described below), the          That is, the borrower will not be
following:                                  Administrator, in consultation with the          responsible for any loan payment if the
  i. Any compensation of an employee        Secretary, determined that a two year            borrower uses all ofthe loan proceeds
whose principal place of residence is       Ioan term is sufficient in light of the          for forgiveable purposes described
outside of the United States;               temporary economic dislocations                  below and employee and compensation
  ii. The compensation of an individual     caused by the coronavirus. Specifically,         Ievels are maintained. The actual
employee in excess ofan annual salary       the considerable economic disruption             amount of loan forgiveness will depend,
of $100,000, prorated as necessary;         caused by the coronavirus is expected to         in part, on the total amount of pa1'roll
  iii. Federal employment taxes             abate well before the two year maturity          costs, payments of interest on mortgage
imposed or withheld between February        date such that borrowers will be able to         obligations incurred before February 15,
L5, 2O2O and |une 30, 2020, including       re-commence business operations and              2020, rent payments on leases dated
the employee's and employer's share of      pay off any outstanding balances on              before February 15,2O2O, and utility
FICA (Federal Insurance Contributions       their PPP loans.                                 payments under service agreements
Act) and Railroad Retirement Act taxes,                                                      dated before February 15,2O2O, over the
and income taxes required to be             k. Can I apply for more than one PPP             eight-week period following the date of
withheld from employees; and                Ioan?                                            the loan. However, not more than 25
   iv. Qualified sick and family leave        No. The Administrator, in                      percent of the loan forgiveness amount
wages for which a credit is allowed         consultation with the Secretary,                 may be attributable to non-payroll costs.
under sections 7001 and 7003 ofthe          determined that no eligible borrower             While the Act provides that borrowers
Families First Coronavirus Response         may receive more than one PPP loan.              are eligible for forgiveness in an amount
Act (Pub. L. 1,1,6-127).                    This means that if you apply for       a PPP     equal to the sum ofpayroll costs and
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any payments of mortgage interest, rent,      vii. refinancing an SBA EIDL loan           t. What certifications need to be made?
and utilities, the Administrator has         made between fanuary 31, 2020 and               On the Paycheck Protection Program
determined that the non-payroll portion      April 3, 2020. Ifyou received an SBA         application, an authorized
of the forgivable loan amount should be      EIDL loan from fanuary 31,2O2o               representative of the applicant must
Iimited to effectuate the core purpose of    through April 3, 2o2O,yott can apply for     certifu in good faith to all of the below: r
the statute and ensure finite program        a PPP loan. If your EIDL loan was not           i. The applicant was in operation on
resources are devoted primarily to           used for payroll costs, it does not affect   February 1,5,2020 and had employees
payroll. The Administrator has               your eligibility for a PPP loan. If your     for whom it paid salaries and paynoll
determined in consultation with the          EIDL loan was used for payroll costs,        taxes or paid independent contractors,
Secretary that 75 percent is an              your PPP loan must be used to refinance      as reported on a Form 1099-MISC.
appropriate percentage in light ofthe        your EIDL loan. Proceeds from any               ii. Current economic uncertainty
Act's overarching focus on keeping           advance up to $10,000 on the EIDL loan       makes this loan request necessary to
workers paid and employed. Further,          will be deducted from the loan               support the ongoing operations ofthe
the Administrator and the Secretary          forgiveness amount on the PPP loan.          applicant.
believe that applying this threshold to                                                    iii. The funds will be used to retain
Ioan forgiveness is consistent with the         However, at least 75 percent of the       workers and maintain payroll or make
structure of the Act, which provides a       PPP loan proceeds shall be used for          mortgage interest payments, Iease
Ioan amount 75 percent of which is           payroll costs. For purposes of               payments, and utility payments; I
equivalent to eight weeks of payroll (B      determining the percentage of use of         understand that if the funds are
weeks/2.5 months = sG days/76 days =         proceeds for payroll costs, the amount       knowingly used for unauthorized
74 percent rounded up to 75 percent).        of any EIDL refinanced will be included.     purposes, the Federal Government may
Limiting non-payroll costs to 25 percent     For purposes ofloan forgiveness,             hold me legally liable such as for
of the forgiveness amount will align         however, the borrower will have to           charges of fraud, As explained above,
these elements of the program, and will      document the proceeds used for payroll       not more than 25 percent of loan
also help to ensure that the finite          costs in order to determine the amount       proceeds may be used for non-payroll
appropriations available for PPP loan        of forgiveness. While the Act provides       costs.
forgiveness are directed toward payroll      that PPP loan proceeds may be used for         iv. Documentation verifying the
protection. SBA will issue additional        the purposes listed above and for other      number of full-time equivalent
guidance on loan forgiveness,                allowable uses described in section 7(a)     employees on pa1'roll as well as the
                                             of the Small Business Act (15 U.S.C.         dollar amounts ofpayroll costs, covered
p. Do independent contractors count as                                                    mortgage interest payments, covered
employees for purposes ofPPP loan            636(a)), the Administrator believes that
                                             finite appropriations and the structure      rent payments, and covered utilities for
forgiveness?                                                                              the eight week period following this
                                             of the Act warant a requirement that
  No, independent contractors have the       borrowers use a substantial portion of       Ioan will be provided to the lender.
                  a PPP loan on their
ability to apply for                                                                        v. Loan forgiveness will be provided
                                             the loan proceeds for payroll costs,
own so they do not count for purposes                                                     for the sum of documented payroll
                                             consistent with Congress' overarching
of a bomower's PPP loan forgiveness.                                                      costs, covered mortgage interest
                                             goal ofkeeping workers paid and
                                                                                          payments, covered rent payments, and
q. What forms do I need and how do I         employed. As with the similar
                                                                                          covered utilities. As explained above,
submit an application?                       Iimitation on the forgiveness amount         not more than 25 percent of the forgiven
   The applicant must submit SBA Form        explained earlier, the Administrator, in     amount may be for non-payroll costs.
2483 (Paycheck Protection Program            consultation with the Secretary, has           vi. During the period beginning on
Application Form) and pal,roll               determined that 75 percent is an             February \5,2O2O and ending on
documentation, as described above. The       appropriate percentage that will align       December 31,,2O2O, the applicant has
lender must submit SBA Form 2484             this element of the program with the         not and will not receive another loan
(Paycheck Protection Program Lender's        Ioan amount, 75 percent of which is          under this program.
Application for 7(a) Loan Guaranty)          equivalent to eight weeks of payroll.           vii. I further certify that the
electronically in accordance with            This limitation on use of the loan funds     information provided in this application
program requirements and maintain the        will help to ensure that the finite          and the information provided in all
forms and supporting documentation in        appropriations available for these loans     supporting documents and forms is true
its files.                                   are directed toward payroll protection,      and accurate in all material respects. I
                                             as each loan that is issued depletes the     understand that knowingly making a
r. How can PPP loans be used?
                                             appropriation, regardless of whether         false statement to obtain a guaranteed
  The proceeds of a PPP loan are to be       portions ofthe loan are later forgiven.      loan from SBA is punishable under the
used for:                                                                                 Iaw, including under 1B U.S.C. 1001
  i, payroll costs (as defined in the Act    s. What happens if PPP loan funds are
                                                                                          and 3571 by imprisonment of not more
and in 2.f.);                                misused?                                     than five years and/or a fine ofup to
  ii. costs related to the continuation of                                                $250,000; under 15 U.S.C. 645 by
group health care benefits during              If you use PPP funds for unauthorized
                                             purposes, SBA will direct you to repay       imprisonment of not more than two
periods of paid sick, medical, or family                                                  years and/or a fine of not more than
Ieave, and insurance premiums;               those amounts. If you knowingly use the
                                             funds for unauthorized purposes, you         $5,000; and, if submitted to a federally
  iii. mortgage interest payments (but                                                    insured institution, under 18 U.S.C.
not mortgage prepayments or principal        will be subject to additional liability
                                                                                          1014 by imprisonment of not more than
payments);                                   such as charges for fraud, If one ofyour
                                             shareholders, members, or partners uses
                                                                                          thirty years and/or a fine of not more
  iv. rent payments;                                                                      than $1,000,000.
  v. utility payments;                       PPP funds for unauthorized purposes,
  vi. interest payments on any other         SBA will have recourse against the             1 A representative ofthe applicant can certify for
debt obligations that were incurred          shareholder, member, or partner for the      the business as a whole if the representative is
before February 15,2O2O; and/or              unauthorized use.                            legally authorized to do so.
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 viii. I acknowledge that the lender         institution, or the BSA requirements of        the comparable federally regulated
will confirm the eligible loan amount        an equivalent federally regulated              institution, such a program may include
using tax documents I have submitted.       financial institution; has been operating       a customer identification program (CIP),
I affirm that these tax documents are       since at least February 15,201.9, and has       which includes identifying and
identical to those submitted to the         originated, maintained, and serviced            verilying their PPP bonowers' identities
Internal Revenue Service. I also            more than $50 million in business loans         (including e.9., date of birth, address,
understand, acknowledge, and agree          or other commercial financial                   and taxpayer identification number),
that the Lender can share the tax           receivables during a consecutive 12             and, if that PPP bouower is a company,
information with SBA's authorized           month period in the past 36 months, or          following any applicable beneficial
representatives, including authorized       is a service provider to any insured            ownership information collection
representatives of the SBA Office of        depository institution that has a contract      requirements. Alternatively, if available,
Inspector General, for the purpose of       to support such institution's lending           entities may rely on the CIP of a
compliance with SBA Loan Program            activities in accordance with 12 U.S.C.       federally insured depository institution
Requirements and all SBA reviews.           1867(c) and is in good standing with the      or federally insured credit union with
                                            appropriate Federal banking agency.           an established CIP as part of its AML
 3. What do lenders need to know and
                                                iv. Qualified institutions described in program. In either instance, entities
 do?                                         3.a.iii.I. and II. will be automatically     should also understaad the nature and
a. Who is eligible to make PPP loans?        qualified under delegated authority by       purpose of their PPP customer
    i. AII SBA 7(a) lenders are             the SBA upon transmission of CARES            relationships to develop customer risk
automatically approved to make PPP          Act Section 1102 Lender Agreement             profiles. Such entities will also
                                             (SBA Form 3506) unless they currently       generally have to identify and report
loans on a delegated basis.
    ii. The Act provides that the authority are designated in Troubled Condition by certain suspicious activity to the U.S.
to make PPP loans can be extended to        their primary Federal regulator or are       Department of the Treasury's Financial
additional lenders determined by the        subiect to a formal enforcement action        Crimes Enforcement Network (FinCEN).
Administrator and the Secretary to have     by   their  primary  Federal  regulator that If such entities have questions with
                                            addresses unsafe or unsound lending          regard to meeting these requirements,
the necessary qualifications to process,
close, disburse, and service loans made     practices.                                   they should contact the FinCEN
with the SBA guarantee. Since SBA is                                                     Regulatory Support Section aIFRC@
                                            b. What do lenders have to do in terms
authorized to make PPP loans up to          of loan underwriting?                        fincen.gov. In addition, FinCEN has
                                                                                         created a COVID-I9-specific contact
$3ag billion by lune 30, 2020, the             Each lender shall:
Adminstrator and the Secretary have                                                      channel, via a specific drop-down
                                               i. Confirm receipt of borrower            category, for entities to communicate to
jointly determined that authorizing         certifications contained in Paycheck         FinCEN COVID-19-related concerns
additional lenders is necessary to          Protection Program Application form
              purpose
                                                                                         while   adhering to their BSA obligations.
achieve the            of allowing as       issued by the Administration;                Entities that wish to communicate such
many eligible borrowers as possible to         ii. Corifirm receipt of information       COVID-19-related concerns to FinCEN
receive loans by the June 30,2O2O           demonstrating that a borrower had            should go to wlwv.FinCEN.gov, click on
deadline.                                   employees for whom the bomower paid          "Need Assistance," and select
   iii. The following types of lenders      salaries and payroll taxes on or around      "COVID19" in the subject drop-down
have been determined to meet the            February 1,5.2O2O;                           list.
criteria and are eligible to make PPP          iii. Confirm the dollar amount of            Each lender's underwriting obligation
Ioans unless they currently are             average monthly payroll costs for the        under the PPP is limited to the items
designated in Troubled Condition by         preceding calendar year by reviewing         above and reviewing the "Paycheck
their primary Federal regulator or are      the papoll documentation submitted           Protection Application Form."
subject to a formal enforcement action      with the borrower's applicationt and         Borrowers must submit such
with their primary Federal regulator that      iv. Follow applicable BSA                 documentation as is necessary to
addresses unsafe or unsound lending         requirements:                                establish eligibility such as payroll
practices:                                     I. Federally insured depository           processor records, payroll tax filings, or
   L Any federally insured depository       institutions and federally insured credit Form 1099-MISC, or income and
institution or any federally insured        unions should continueio follow their        expenses from a sole proprietorship. For
credit union;                               existing BSA protocols when making           borrowers that do not have any such
   II. Any Farm Credit System institution PPP loans to either new or existing            documentation, the borrower must
(other than the Federal Agricultural        customers who are eligible borrowers         provide other supporting
Mortgage Corporation) as defined in 12      under the PPP. PPP loans for existing        documentation, such as bank records,
U.S.C. 2002(a) that applies the             customers will not requrre re-               sufficient to demonstrate the qualifying
requirements under the Bank Secrecy         verification under applicable BSA            payroll amount.
Act and its implementing regulations        requirements, unless otherwise
(collectively, BSA) as a federally          indicated by the institution's risk-based    c. Can lenders rely on borrower
regulated financial institution, or         approach to BSA compliance,                  documentation for loan forgiveness?
fu nctionally equivalent requirements          IL Entities that are not presently           Yes. The lender does not need to
that are not altered by this rule; and      subject to the requirements of the BSA,      conduct any verification if the borrower
   III. Any depository or non-depository should, prior to engaging in PPP lending submits documentation supporting its
financing provider that originates,         activities, including making PPP loans       request for loan forgiveness and attests
maintains, and services business loans      to either new or existing customers who that it has accurately verified the
or other commercial financial               are eligible borrowers under the PPP,        payments for eligible costs. The
receivables and participation interests;    establish an anti-money laundering           Administrator will hold harmless any
has a formalized compliance program;        (AML) compliance program equivalent          Iender that relies on such borower
applies the requirements under the BSA to that of a comparable federally                 documents and atteitation from a
as a federally regulated financial          regulated institution. Depending upon        borrower, The Administrator, in
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consultation with the Secretary, has            SBA. Agents may not collect fees foom            borrower since the loan was disbursed
determined that lender reliance on a            the borrower or be paid out of the PPP           that the lender used to determine the
borrower's required documents and               loan proceeds. The total amount that an          expected forgiveness amount, which
attestation is necessary and appropriate        agent may collect from the lender for            should include the same documentation
in light of section 1106(h) of the Act,         assistance in preparing an application           required to apply for Ioan forgiveness
which prohibits the Administrator from          for a PPP loan (including referral to the        such as payroll tax filings, cancelled
taking an enforcement action or                 lender) may not exceed:                          checks, and other payment
imposing penalties if the lender has               i. One (1) percent for loans of not           documentation; and any additional
received a borrower attestation.                more than $350,000;                              information the Administrator may
                                                   ii. 0.50 percent for loans of more than       require to determine whether the
d. What fees will Ienders be paid?              $350,000 and less than $2 million; and           expected forgiveness amount is
   SBA will pay lenders fees for                  iii.   0.25 percent for loans of at least $2   reasonable. The Administrator, in
processing PPP loans in the following           million.                                         consultation with the Secretary,
amounts:                                           The Act authorizes the Administrator
                                                                                                 determined that seven weeks is the
   i. Five (5) percent for loans of not         to establish limits on agent fees. The
                                                                                                 minimum period of time necessary for
more than $350,000;                             Administrator, in consultation with the
                                                                                                 a lender to reasonably determine the
   ii. Three (3) percent for loans of more      Secretary, determined that the agent fee
                                                                                                 expected forgiveness amount for a PPP
than $350,000 and less than $2,000,000;         limits set forth above are reasonable
                                                                                                 Ioan or pool ofPPP loans, since the PPP
and                                             based upon the application req
   iii. One (1) percent for loans of at least                                                    is a new program and the likelihood that
                                                uirements and the fees that lenders
                                                                                                 many borrowers will be new clients of
$2,000,000.                                     receive for making PPP loans,
                                                                                                 the lender. The expected forgiveness
e. Do lenders have  to apply the "credit        d. Can PPP loans be sold into the                amount may not exceed the total
elsewhere test"?                                secondary market?                                amount of principal on the PPP loan or
  No. When evaluating an applicant's               Yes, A PPP loan may be sold on the            pool of loans. The Administrator will
eligibility lenders will not be required to     secondary market after the loan is fully         purchase the expected forgiveness
apply the "credit elsewhere test" (as set       disbursed. A PPP loan may be sold on             amount of the PPP loan(s) within 15
forth in section z(aXtXA) of the Small          the secondary market at a premium or             days of the date on which the
Business Act (15 U.S.C. 636) and SBA            a discount to par value. SBA will issue          Administrator receives a complete
regulations at 13 CFR 120.101)).                guidance regarding any advance                   report that demonstrates that the
                                                purchase for loans sold in the secondary         expected forgiveness amount is indeed
4. What do both borrowers and lenders
                                                market.                                          reasonable.
need to know and do?
a.What are the loan terms and                   e. Can SBA purchase some or    all of the        s. Additional Information
conditions?                                     loan in advance?
                                                                                                   All loans guaranteed by the SBA
  Loans will be guaranteed under the               Yes. A lender may request that the            pursuant to the CARES Act will be
PPP under the same terms, conditions            SBA purchase the expected forgiveness            made consistent with constitutional,
and processes as other 7(a) Ioans, with         amount of a PPP loan or pool ofPPP               statutory, and regulatory protections for
certain changes including but not               Ioans at the end of week seven of the            religious liberty, including the First
limited to:                                     covered period. The expected                     Amendment to the Constitution, the
  i. The guarantee percentage is 100            forgiveness amount is the amount of              Religious Freedom Restoration Act, 42
oercent.                                        loan principal the lender reasonably             U.S,C. 2000bb-t and bb-3, and SBA
' ii. No collateral will be required.           expects the borrower to expend on                regulation at 13 CFR 113.3-1h, which
  iii. No personal guarantees will be           payroll costs, covered mortgage interest,        provides that nothing in SBA
required.                                       covered rent, and covered utility                nondiscrimination regulations shall
  iv. The interest rate will be 100 basis       payments during the eight week period            apply to a religious corporation,
ooints or one Dercent.                          after loan disbursement. At least 75
^ v. All loans will be processed by all                                                          association, educational institution or
                                                percent of the expected forgiveness              society with respect to the membership
Ienders under delegated authority and           amount shall be for payroll costs, as
Ienders will be permitted to rely on                                                             or the employment of individuals of a
                                                provided in 2.o. To submit a PPP loan            particular religion to perform work
certifications of the borrower in order to      or pool ofPPP loans for advance
determine eligibility of the borrower                                                            connected with the carrying on by such
                                                purchase, a lender shall submit a report         corporation, association, educational
and the use of loan proceeds.                   requesting advance purchase with the             institution or society of its religious
b. Are there any fee waivers?                   expected forgiveness amount to the               activities. SBA intends to promptly
                                                SBA. The report shall include: the               issue additional guidance with regard to
  i. There will be no up-front guarantee
                                                Paycheck Protection Program                      religious Iiberty protections under this
fee payable to SBA by the Borrower;
  ii. There will be no lender's annual          Application Form (SBA Form 2483) and             proSram.
service fee ("on-going guaranty fee")           any supporting documentation
                                                 submitted with such application; the              SBA may provide further guidance, if
payable to SBA;                                                                                  needed, through SBA notices and a
  iii. There will be no subsidy                 Paycheck Protection Program Lender's
                                                Application for 7(a) Loan Guaranty               program guide which will be posted on
recoupment fee; and                                                                              SBA's website at www.sba.gov.
  iv. There will be no fee payable to            (SBA Form 2484) and any supporting
SBA for any guarantee sold into the             documentation; a detailed narrative                Questions on the Paycheck Protection
secondary market.                               explaining the assumptions used in               Program 7(a) Loans may be directed to
                                                determining the expected forgiveness             the Lender Relations Specialist in the
c.Who pays the fee to an agent who              amount, the basis for those assumptions,         Iocal SBA Field Office. The local SBA
assists a borrower?                             alternative assumptions considered, and          Field Office may be found at https://
  Agent fees will be paid by the lender         why alternative assumptions were not             vvww. sba. gov /tool s / lo c al-as si stanc e /
out of the fees the lender receives from        used; any information obtained from the          districtoffices.
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Compliance With Executive Orders            Section 1102 Lender Agreement), and          unnecessary, or contrary to the public
12866,12988, 73732, and t3ZZr, the          SBA Form 3507 (CARES Act Section             interest. Small Business
Paperwork Reduction Act (aa U.S.C.          1 102 Lender Agreement-Non-Bank and          Administration's Office of Advocacy
Ch. 35), and the Regulatory Flexibility     Non-Insured Depository Institution           g:lide: How to Comply with the
Act (5 U.S.C. 601-612)                      Lender). The collection is approved for      Regulatory Flexibility Ac. Ch.1. p.9.
                                            use until September 30,2O2O.                 Accordingly, SBA is not required to
E.O. 12866 and E.O. 13563                                                                conduct a regulatory flexibility analysis
                                            Regulatory Flexibility Act (RFA)               Authority: 1 5 U.S.C. 636(a)(36);
  This interim final rule is
economically significant for the               The Regulatory Flexibility Act (RFA)      Coronavirus Aid, Relief, and Economic
purposes ofExecutive Orders 12866 and       generally requires that when an agency       security Act, Public Law 116-136,
13563. SBA, however, is proceeding          issues a proposed rule, or a final rule      Section 1114.
under the emergency provision at            pursuant to section sse(b) ofthe APA or
                                            another law, the agency must prepare a       |ovita Carranza,
Executive Order 12866 Section
                                            regulatory flexibility analysis that meets   Administrator.
o(aXsXD) based on the need to move
                                            the requirements of the RFA and              IFR Doc. 2020-07 67 2   F   iled, 4-1,0-20; 4: 1 5 pml
expeditiously to mitigate the current
economic conditions arising from the        publish such analysis in the Federal         BILLING CODE P

COVID-19 emergency. This rule's             Register. 5 U.S.C. 603, 604. Specifically,
designation under Executive Order           the RFA normally requires agencies to
                                            describe the impact of a rulemaking on       SMALL BUSINESS ADMINISTRATION
L377L will be informed by public
comment.                                    small entities by providing a regulatory     13 CFR Part 121
  This rule is necessary to implement       impact analysis. Such analysis must
sections 1102 and 1106 0fthe CARES          address the consideration of regulatory      lDocket No. SBA-2020{019I
Act in order to provide economic relief     options that would lessen the economic       RIN 3245-AH35
to small businesses nationwide              effect of the rule on small entities. The
adversely impacted under the COVID-         RFA defines a "small entity" as (r) a        Business Loan Program Temporary
19 Emergency Declaration. We                proprietary firm meeting the size            Changes; Paycheck Protection
anticipate that this rule will result in    standards of the Small Business              Program
substantial benefits to small businesses,   Administration (SBA); (2) a nonprofit
                                            organization that is not dominant in its     AGENCY:    U.S. Small Business
their employees, and the communities
                                            field; or (3) a small government             Administration.
they serve. However, we lack data to
estimate the effects of this rule.          iurisdiction with a population of less       AcTtoN: Interim final rule.
                                            than 50,000. 5 U.S.C. 601(3)-(6). Except
Executive Order 12988                                                                    SUMMARY:  Elsewhere in this issue of the
                                            for such small government jurisdictions,
                                                                                         Federal Register, the U.S. Small
  SBA has drafted this rule, to the         neither State nor local governments are
                                                                                         Business Administration (SBA) is
extent practicable, in accordance with      "small entities." Similarly, for purposes
                                                                                         publishing an interim final rule (the
the standards set forth in section 3(a)     of the RFA, individual persons are not
                                                                                         Initial Rule) announcing the
and 3(bX2) ofExecutive Order 12988, to      small entities.
                                               The requirement to conduct a              implementation of sections 1102 and
minimize Iitigation, eliminate                                                           1106 of the Coronavirus Aid, Relief, and
ambiguity, and reduce burden. The rule      regulatory impact analysis does not
                                            apply if the head of the agency "certifies   Economic Security Act (CARES Act or
has no preemptive or retroactive effect.                                                 the Act). Section 1102 of the Act
                                            that the rule will not, if promulgated,
Executive Order 13132                       have a significant economic impact on        temporarily adds a new program, titled
  SBA has determined that this rule         a substantial number of small entities."     the "Paycheck Protection Program," to
will not have substantial direct effects     5 U.S.C. 605(b). The agency must,           the SBA's 7(a) Loan Program. Section
                                            however, publish the certification in the    1106 ofthe Act provides for forgiveness
on the States, on the relationship
between the National Government and         Federal Register at the time of              of up to the full principal amount of
the States, or on the distribution of       publication of the rule, "along with a       qualifuing loans guaranteed under the
power and responsibilities among the         statement providing the factual basis for   Paycheck Protection Program. The
various layers of government. Therefore,     such certification." Ifthe agency head      Paycheck Protection Program and loan
SBA has determined that this rule has        has not waived the requirements for a       forgiveness are intended to provide
no federalism implications warranting       regulatory flexibility analysis in           economic relief to small businesses
preparation of a federalism assessment.      accordance with the RFA's waiver            nationwide adversely impacted by the
                                             provision, and no other RFA exception       Coronavirus Disease 2019 (COVID-19).
Paperwork Reduction Act, 44 U.S.C.           applies, the agency must prepare the        This interim final rule supplements the
Chapter 35                                   regulatory flexibility analysis and         Initial Rule with additional guidance
   SBA has determined that this rule         publish it in the Federal Register at the   regarding the application of certain
will impose recordkeeping or reporting       time of promulgation or, if the rule is     affiliate rules applicable to SBA's
requirements under the Paperwork             promulgated in response to an               implementation of sections 1102 and
Reduction Act ("PRA"). SBA has               emergency that makes timely                  1106 of the Act and requests public
obtained emergency approval under           compliance impracticable, within 180         comment.
OMB Control Number 3245-0407 for the        days ofpublication ofthe final rule.5        DATES:
information collection (IC) required to     U.S.C. 604(a), 608(b).                          Effective dote: This interim final rule
implement the program described               Rules that are exempt from notice and      is effective April 15, 2020.
above. This IC consists ofForm 2483         comment are also exempt from the RFA           Applicability dote; This interim final
(Paycheck Protection Program                requirements, including conducting a         rule applies to applications submitted
Application Form), SBA Form 2484            regulatory fl exibility analysis, when       under the Paycheck Protection Program
(Paycheck Protection Program Lender's       among other things the agency for good       through June 30,        2O2O, or       until funds
Application for z(a) Loan Guaranty),        cause finds that notice and public           made available for this purpose are
and SBA Form 3506 (CARES Act                procedure are impracticable,                 exhausted.
